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Name and address:
MICHAEL TAN
ACLU IMMIGRANTS’ RIGHTS PROJECT
125 Broad Street, 18th Floor
New York, New York 10004-2400

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JENNY LISETTE FLORES, et al., ene Mee
Plaintiff(s), 85-4544-DMG
Vv.
APPLICATION OF NON-RESIDENT ATTORNEY
JEFFERSON B. SESSIONS, Attorney General, et al., TO APPEAR IN A SPECIFIC CASE

Defendant(s), PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
Section IL, and have the designated Local Counsel sign in Section II. ELECTRONIC SIGNATURES ARE NOT ACCEPTED.
Space to supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued
within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the
Application. Scan the completed Application with its original ink signature, together with any attachment(s), to a single Portable
Document Format (PDF) file.

(2) Have the designated Local Counsel file the Application electronically (using the Court's CM/ECF System), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $325 fee online at the time of filing (using a
credit card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing
will be grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $325 fee.
(Certain attorneys for the United States are also exempt from the requirement of applying for pro hac vice status, See L.R. 83-2.1.4.)
A copy of the G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

SECTION I - INFORMATION
Tan, Michael K.T.

Applicant’s Name (Last Name, First Name & Middle Initial) check here if federal government attorney O
American Civil Liberties Union Immigrants’ Rights Project
Firm/Agency Name
125 Broad Street, 18th Floor (212) 549-2618 (212) 549-2654
Telephone Number Fax Number
Street Address
New York, New York 10004-2400 mtan@aclu.org
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
ACLU IMMIGRANTS’ RIGHTS PROJECT ] Plaintiff(s) (| Defendant(s) Other: Amici Curiae

ACLU FOUNDATION OF SOUTHERN CALIFORNIA — [J Plaintiffs) [1] Defendant(s) [k] Other: Amici Curiae
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

Name of Court Date of Admission Active Member in Good Standing? (if not, please explain)
New York Bar, 2d Judicial Department 4/15/2009 Active Member in Good Standing
State Bar of California 12/3/2012 Inactive

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

Case Number Title of Action Date of Application Granted / Denied?
5:16-cv-00620 Hernandez v. Lynch 04/12/2016 Granted
5:17-cv-02048 IEIYC v. Duke 10/11/2017 Granted

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

Has the applicant previously registered as a CM/ECF user in the Central District of California? Yes ] No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above? [x] Yes L] No

Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECE") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case. Pursuant to Local Rule 5-3.2.3, registering as a CM/ECF User is deemed consent, for purposes of Fed. R. Civ.
P, 5(b)(2)(B), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form (Form G-05, available from
the Court's website). If the Court receives an Electronic Service Exemption Form from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel of record; instead, copies of such documents will be sent to you

through the mail.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Iam nota resident of the State of California. I am not regularly employed in, or engaged in substantial business,
professional, or other activities in the State of California.

(3) Iam not currently suspended from and have never been disbarred from practice in any court.

(4) Iam familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local

Rule 83-2.1.3.4.

Dated July 12, 2018 Michael K.T. Tan
Applicant's Name (please type or print)

Fae

Applicant's Signature

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SECTION II - DESIGNATION OF LOCAL COUNSEL
Arulanantham, Ahilan T.

Designee’s Name (Last Name, First Name & Middle Initial)

American Civil Liberties Union Foundation of Southern California

Firm/Agency Name

1313 West 8th Street (213) 977-5232 (213) 977-5297
Telephone Number Fax Number

Street Address aarulanantham@aclu-sc.org

Los Angeles, CA 90017 E-mail Address

City, State, Zip Code SBN 237841

Designee’s California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.

Dated +) 2 9] [8 Ahilan T, Arulanantham
1 f

NA. Ce A or >

Designee’s Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY

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